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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF ILLINOIS
EAST ST. LOUIS DIVISION

Plaintiff,

vs. Case No. 3:18-cv-01668-NJR-GCS
SOUTHERN ILLINOIS UNIVERSITY,
at EDWARDSVILLE (SIUE) and
RANDALL G. PEMBROOK, in his
Official Capacity as
Chancellor of SIUE,

Defendants.

PLAINTIFF’ S SUPPLEMENTAL BRIEF ON THE IMPACT OF THE SEVENTH

CIRCUIT’S DECISION IN DOE Vv. PURDUE UNIVERSITY
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NOW COMES the Plaintiff, LM, by counsel, Eric M. Rhein, and
for his Supplemental Brief on the impact of the Seventh’s
Circuit’s decision in Doe yv. Purdue University, 928 F.3d 652
(7th Cir. June 28, 2019) (slip op.), states as follows:

I. INTRODUCTORY OBSERVATIONS

Counsel appreciates the opportunity to comment on the impact
of this important Seventh Circuit opinion (decided June 28, 2019)
in Doe v. Purdue University. Campus due process and Title Ix
issues relating to the conduct of state school campus sex
harassment and/or assault panels is a fast changing area of the
law, and the trend of expanding or recognizing the rights of the

accused students was furthered by the decision of the three

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person panel of our Court of Appeals. In no way are the case's
holdings a “win” for SIUE.

Much of what the District Judge St. Eve decided in Doe Vv.
Columbia College, 299 F. Supp. 939 (N. D. Ill. 2017), a case the
Defendants cited here for dismissal of the Title IX counts, is no
longer good law, after Justice St. Eve had the authority to in
effect overrule it. She did.

II. DOE V. PURDUE AND HOW IT APPLIES TO PLAINTIFF’S CLAIMS

Doe claimed that his due process and Title IX rights were
violated by a state university when he was suspended for a year
from college and booted out of the school ROTC program after
being found guilty of sexually groping a female student, a
Student who never testified.

The Seventh Circuit found that Doe had adequately stated
Claims for violation of his civil rights and Title Ix rights when
he was forced to testify and be questioned at a panel hearing
(much like L M was forced to do), when the alleged victim was not
questioned at all by the panel, when the Panel did not require
the alleged victim to appear and testify under oath at the
hearing, when the alleged victim did not even have to give the
Panel her written version of events (of a sexual encounter
similar to what CM alleged, e.g., drunken sex at an off campus
apartment, with no criminal charge made and no professional

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investigation being conducted. )

Doe also alleged that he was never provided the state’s
alleged evidence against him (until - a few minutes before the
start of his Panel hearing - when an ROTC officer showed him a
redacted investigative report, one in which the investigator
falsely claimed that the accused student had confessed to the
truth of the alleged victim's allegations).

Like LM has alleged, Doe alleged that the complainant and
he had a prior sexual relationship, in which they had had sex
fifteen to twenty times during the period October, 2015 until
December, 2015. When she got around to complaining about
Doe’s conduct, during the April of 2016 on campus “Sexual Assault
Awareness Month,” “Jane” alleged that he had groped her through
her clothing while the couple was sleeping together. Doe denied
that occurred. Purdue then pursued her complaint, even though
the alleged victim never filed one.

Doe was suspended, just based on the school’s letter
alleging that he was guilty of a sex assault, from the Navy ROTC
program.

Doe - like LM - also alleged that the Panel ignored
evidence of behavior of the claimed victim which was inconsistent
with the behavior of a real victim of a sexual assault (e.g.,
Jane continued to text him after November of 2015, she spoke with

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him over the December, 2015 holidays, she sent his family
homemade cookies, and she invited him to her room when school
resumed in January of 2016). The Panel also ignored real
evidence Doe claimed to have of mental instability of Jane,
including ignoring evidence that she had attempted suicide.

Like L M, Doe was forced to attend, testify and be cross-
examined live at the Panel hearing. Like LM, Doe never had the

chance to truly cross-examine the claimed victin. But like in

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LM was forced to submit to live questioning by the Panel, C
M, and C M’s advisor (who was not a lawyer). LM just wanted to
be treated the same as the person of the opposite sex who
testified against him.

Predictably, like the Seventh Circuit wrote, the hearing
“did not go well for John [Doe].” Id. at 5. That is an
understatement.

Doe alleged he lost the chance for a Naval officer career as
a result of the erroneous and false panel finding that the Panel
was crediting the “word” of an accuser who had never even
submitted a written statement to the Panel of what she claimed
happened to her.

The court found that two of the three Panel members admitted
to not having even bothered to have read the Title Ix
Investigation report. The member who had (of course) assumed

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guilt and cross-examined Doe as if he already had been found
guilty (cross-examining him live, just like L M’s representative
wanted to do with c M). John was unable to see the evidence

in advance (like L M, who can now allege in an Amended Complaint
that the school Suppressed - until its discovery compliance in
this case - an internal campus email that documented that CM

did not wish to be subject to any questioning by any police
officer, unusual evidence of non-cooperation from an alleged rape
victim. )

The court also Significantly found that the Panel refused to
allow John to submit real evidence of innocence (an alleged
eyewitness who was Present in the room when the alleged victim
claimed she had been groped), refused to allow him to present
evidence of Jane’s inconsistent and impeaching conduct, and
refused to allow him to submit evidence of his law abiding and
good, non-violent character.

The appeals court reversed the dismissal of John’s
Section 1983 claim (for expungement), and also reversed the
dismissal of John’s Title IX count. Simply put, the state
university lost the Doe appeal, and the aggrieved student now has
the chance to engage in discovery and go to trial.

First, as to the plaintiff's Standing to bring a 1983 due
Process denial count, the Court held that Doe’s allegations

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established standing. His allegation that he has lost a Naval
career carried the day for him. Like Doe, LM (see pages 24 and
25 of Count III of his Complaint) has alleged real harms to his
life as a result of SIUE’s egregious actions:

-L M has wrongfully been labeled a rapist by Defendants,
harming his reputation permanently (paragraphs A and G of Count
III);

-L M was forced by the school to graduate early, after three
years on campus, when he wanted to put in another year (paragraph
B); had he not been suspended for one year, he would have had the
chance to complete another two semesters worth of undergrad
credits, which would have made him more attractive or marketable
to graduate schools (paragraph D);

-L M was forced to start a graduate program at a school he’d
rather not attend, in order to keep a third party granted
scholarship (paragraphs C & D);

-L M was forced by Defendants to lose out on a fourth and
final year of FASFA funding of college (paragraph E);

-L M lost out on fourth year college scholarships (paragraph

-L M was forced to forfeit his long time and good
association with the student Housing Department (paragraph H).
In short, LM - like John Doe - has adequately pleaded a liberty

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or property interest to establish Section 1983 standing to have
the guilty finding vacated and his record expunged. But
Plaintiff concedes that he should amend to make a Plain statement
of facts establishing standing in Counts I and II.

The Seventh Circuit, at page 12 of Doe, cites Townsend vy.
Vallas, 256 F.3d 661, 670 (7th Cir. 2001) for the proposition
that “Liberty interests are impinged when someone’s ‘good name,
reputation, honor or integrity [are] called into question ina
manner that makes it virtually impossible for . . - [him] to find
new employment in his chosen field.’”

The Doe Justices found that Purdue utilized fundamentally
unfair procedures in its Title Ix action against the accused, and
applied a context-based analysis of the process which is due,
holding that the more severe the accusation of misconduct or the
more severe the potential penalties involved, the more formalized
due process rights the accused student must receive. Page 16.
And the court found that Purdue’s “rights” offered Doe fell short
of what the court had Previously ruled that even a high school
must give an accused student in attempting to suspend. Page 17.
In light of that fact, one would think that the court would have
also found that Doe’s human defendants were not entitled to
qualified immunity, but they did.

The “hearing must be a real one, not a sham or pretense.”

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Id. In “he said/she said” disputes like the ones in Doe and in
LM v. SIUE, the court held that the school’s “failure to even
question Jane or John’s roommate to probe whether this evidence
[of inconsistent conduct of Jane] was reason to disbelieve Jane
was fundamentally unfair to John.” Doe at 17 - 18. Also, this:
“[The Title Ix investigator] and the Advisory Committee’s failure
to make any attempt to examine Jane’s credibility is all the more
troubling because John identified specific impeachment evidence,”
evidence L M’s counsel would have presented to the hearing Panel,
had he been allowed to speak. (That evidence is described in L
M’s suit). Id. at 18.

The above language in the opinion is key, and it frankly
contradicts this dicta in footnote 4: “Citing a recent case form
the Sixth Circuit, John also argues that he was entitled to

cross-examine Jane. See Doe v. Baum, 903 F.3d 575, 581 (6th Cir.

 

2018). Because John has otherwise alleged procedural
deficiencies sufficient to survive a motion to dismiss, we need

not address this issue.” Doe v. Purdue at 18. (Plaintiff LM has

 

also cited the Baum case to this court).

But the Justices DID address it. They found that the
failure of anyone to question the alleged victim was a denial of
due process.

And of course the trend in the authority is to give accused

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students in serious cases the right to cross-examine the
witnesses, especially in he said/she said situations.

The Doe court, on Page 8 of that decision, described the
Process failures Doe alleged, and among them was the fact that
“he had no opportunity to cross-examine Jane.”

The court held, at page 16, that “John’s circumstances
entitled him to relatively formal procedures,” procedures I, M's
suit also alleges in detail, procedures that LM, accused of rape
(and not just groping someone) undoubtedly deserved, but which
SIUE ignored.

In another significant holding, favorable to LM and not to
SIUE, is that Doe could seek injunctive relief in order to have
the trial court expunge the campus guilty finding, should he win
at trial. Id. at 22 - 23. LM will also allege the need to
expunge his suspension and guilty finding from his official
records at SIUE, because if a potential grad school or employer
asks him on an application if he has ever been found guilty of
assault, to tell the truth, he would be forced to disclose what
happened to him in SIUE’s Panel process. And the only way he can
give an honest “no” answer to that question would be if he wins
this case and obtains an expungement order from the District
Court.

The Doe court, however, did not issued a comprehensive

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“Miranda” type of listing of all the procedural rights state
schools must give accused Title Ix students, rights which 1 M
argues that he should have been afforded, like a presumption of
innocence, a clear and convincing standard of proof, the burden
of proof on the school or complainant, the right not to
testify, the right to - through a third party like an attorney
~ Cross-examine the witnesses against him, etc. Instead, Doe
gives future accused Students the right to notice of the
charges in advance, the right to be heard, the right to have
someone question the alleged victim effectively, and the right
to examine the Sstate’s/school’s evidence in advance. Like John
Doe, the only evidence LM got to see in advance was the Title
IX investigator’s report. Incidentally, LM will allege that
the Panel allowed Cc M to submit alleged medical evidence after
the hearing was concluded, and after the time for the Panel to
deign to ask written questions submitted by L M’s counsel,

John Doe also did not raise the argument L M has raised: the
lack of any legal authority for a state university to punish
off campus actions that the criminal justice system can punish.

Doe outright reverses Judge Posner in the Osteen case, and

 

that reversal was well deserved. OQsteen, cited repeatedly by

the Defendants in this case, is no longer good law.

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As to the Title 1x part of the Doe decision, the court
Significantly held that Doe adequately alleged that “his sex
was a motivating factor” in the school’s discipline of him.
Page 25.

All Doe and subsequent plaintiffs have to allege in Title
IX violation counts are facts which “raise a plausible
inference” that the university discriminated against John “on
the basis of sex.” Page 25. Plaintiff L Mm has asked for leave
to amend his Title Ix counts after the court rules on the
Motion to Dismiss Counts I, II and xI.

Finally, the court addressed the relevance of the 2011
federal “Dear Colleague” letter in these cases. The court
ruled that while admissible and relevant, the Letter itself
cannot be the sole ground for a plaintiff to claim that his or
her Title Ix rights were violated. see p. 26 - 29. The Letter
itself is thus not outcome determinative. But the jury the
defense has demanded should read it.

Doe described what made John’s allegations sufficient:
like in the case at bar, John’s case was a he said/she said
case; the school had no real basis to credit the Story they
Said Jane had told over the accused live and cross-examined

version of events (like LM alleges that SIUE had no basis to

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believe a “rape” victim who stated that she voluntarily had
anal sex with L M after he Supposedly raped her twice) (it’s
interesting that while Jane was not questioned at all, just
like C M was not effectively cross-examined at all, John Doe
was questioned by a panel member in an accusatory manner); the
Panel likely credited Jane over John because of her gender; the
Panel showed their bias against John by not permitting him to
question Jane or call her, by disallowing John from Calling an
actual eye witness to the encounter, and by not permitting him
to point out very telling inconsistent, impeaching conduct on
Jane’s part, behaviors not consistent with how a person who
knew or believed they had been raped would act; the Panel
showed its hostility to John by inquisitorially calling him
first in their “case”; and the Panel ignored his evidence that
Jane had serious mental health issues. Pp. 29.

The bottom line is that “it is plausible that [the Panel]
chose to believe Jane because she is a woman and to disbelieve
John because he is a man.” id,

In conclusion, what happened to Doe was egregious, but
just slightly more egregious than how SIUE treated LM. And
the Seventh Circuit has taken an important step in improving

the basic fairness of these sex assault panels.

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The Motion to Dismiss counts I, II and XI should be
denied, with the court dismissing the money damages civil
rights claim in Count III, and with the court allowing LM
leave to amend to state his standing allegations more
specifically in Counts I and II, and to re-plead his Title Ix

counts IV and V.

Respectfully submitted,

/s/ Eric M. Rhein

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I hereby certify that on July 29, 2019, a true and correct
copy of the foregoing document was electronically served on
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